                                                                                    FILED
                                                                                  APR O7 2020
                  I r THE UNITED STATES DISTRI T COURT                        PETER A. MOORE, JR., CLERK
                                                                               US DIST~ ICT COURT, EDNC
              FOR THE EASTER DISTRICT OF NORTH \ROLI A                       BY      D \          DEP CLK
                            WESTERN DIVISION

I RE APPLICATION OF THE                         )
UNITED STATES OF AMERICA FOR                    )
AN ORDER AUTHORIZING THE                        )
I STALLATION AND USE OF PEN
REGISTERS AND TRAP AND TRACE
                                                ~   MISC.     o.   5: JO,..~ /:!,7L-I-"
DEVICES FOR THE CELLULAR                        )
TELEPHO E ASSIG ED ALL                          )
NUMBER (760) 805-5387                           )   Filed Un der Sea l



                                    APPLICATION

      The United States of Am rica , moving by and through Barbara D. Kocher, its

under signed counsel, respectfully submits under seal this ex pa.rte application for an

order pursuant to 18 U.S.     §§ 3122 and 3123, authorizincr the in tallation and use

of pen registers and trap and trace device ("pen-trap device ') to record, decode

and/or capture dialing, routing, addre sing, and signaling information associated

with each communication to or from the cell phone number described in Attachment

A. In support of t his application , the United States as   rt :

       l.    This is an application. made under 18 U.S . . § 3122(a)(l ), for an order

under 1 U. S.C. § 3123 authorizing the installation and u e of a pen register and a

trap and trace device.

      2.     Such an application mu. t include three ele ments: (1) "th e identity of

the attorn ey for the Government or the State law enfor cment or investigative

officer making the appbcation;" (2) "the identity of the law enforcement agency

con ductin g the investigation;" and (3) 'a certification by the applicant that the




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information likely to be obtained i relevant to a n ongoing criminal investigation

being conducted by that agency. " 18 U.S.C. § 3122(b).

          3.    The under igned applicant is an "attorney for the governm nt" a

defined in Rule l(b)(l) of the Federal Rule of Criminal Procedure.

          4.    Th ~ law enforcement ag ncy conducting the inve tigation is the      aval

Criminal Investigative Service.

          5.    The applicant hereby certifies that the information likely to be

obtained by the reque ted pen-trap device          is relevant to a n ongoing criminal

lllV .   tigation being conducted by the Tava l Criminal Inve tigative Service.

          6.    Thi.· Court i   a 'court of competent juri diction ' under 18 U.S.

§ 3122(a)(2) because it "has jurisdiction over the offen ' e being investigated ."    18

U.S .C. § 3127(2)(A)(i).

                             ADDITIONAL I FORMATIO           J


          7.    Ot her than the three    lement described above federal law doe not

require that an application for an order authorizing the installation a nd u. e of a

pen register and a trap and trace device specify any fact . The following additional

information is provided to demonstrate that the order requested falls within thi

Court's au hority to authorize the in ·taJ.lation and u e of a pen regi ter or trap and

trace devi e under 18      .S.C. § 3123(a)(l).

         8.     A ' pen register" is "a device or proces. which record · or decode

dialing, routing, addre ·ing, or signaJing information transmitted by an instrument

or facility from which a wire or electronic communication is tran 'mitt d. " 18 U.S. .




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§ 3127(3).   , "trap a nd tr ace device ' i~ "a device or process which capture the

in co ming electronic or other impul ·e.· which identify the originating number or

ot her dialin o-, routing addi· s ing, a nd ignaling information rea onably likely to

identify the ouTce of a wire or electronic communication." 18 U.S. . § 3127(4).

      9.     In the traditional telephone context, pen r egister       captur d the

de tin ation phone numbers of outgoin g calls, while trap and trace d vice capt ured

the phone numbers of incoming calls.      Similar principles apply to oth er kinds of

wire and electronic com muni cation s, as de cribed below.

      10.    'The Internet is a global network of computers and other devices.

Devices directly con nected to t he Internet are identified by a uniqu number called

a n Internet Proto ol, or "IP" addres . This number is use d to route informa tion

between devices. G nerally, when on device rcque t info rmation from a econd

device, the r eque ting devic .-peci.fie its own IP addre~    o that the re ponding

device knows where to send it · re pon e. An IP addres i analo gou to a telephone

number and can b recorde d by pen-trap device , and it indicates t he online identity

of the communica ting device without revealing th e communication' content .

      11.    A network is two or more co mpu ter or other devices co nnected to each

other that can exch ange information with each other via ome tran mi ion method,

 uch as by wires, able , or radio wave . The equipm ent that connect a comp uter

or other device to the n etwork is commonly referred to as a network adapter. Most

network ada pters h a e a lfedia Acee     Control (""MAC ) addre s a igned by the

manufacturer of the adapter that is designed to be a uniqu e ident ifying number . An



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adapte r'.:: unique MAC a ddr s allow            for proper routing of communication on a

local area n etwork and m ay be used for other purposes, such as a u thentication of

customer. by so me network ervice providers.               nli.ke a device s IP add.re      that

often changes each time a device connects to the In ternet, a MAC Rddress is fixed at

tb e tim e of manufacture of t he a dapter . Becau e the address doe not chang and i

intended to be uniqu , a MAC a ddress can allow law                     nforcement to id entify

whether ommunications se n t or receiv d at different time are as ociated with the

 ame a dapter.

        12.       On the Internet , data tran £erred between devices is not             ent as a

continuou.        tream, but rather it is plit into di crete packet . G nerally, a ingle

com munication 1s sent as a             enes of packets.   When the packets reach their

de ti nation ,     th e     re eiving   device   reas embles     them     into   t he   co mplete

communjcation.            Each packet has t wo par ts: a hea der with routing and control

information . and a payload , which generally con tains u er data .                 The header

con t ain      non-content information      u cb a the packet'     ource a nd destination IP

addrnsses a nd the packet's s ize.

        13.       I n addition, differen t Internet applications are a            ociated with

differ ent ·'port number.," or numeric identifier s. The port number is tran. mitted

a long with any comm unication using that application .                 For example , port 80

typically is associated with communications involving the World Wide Web.

        14 .      A cellular telephone, or ce11 phone, is a mobile devi · that tra n rnit

and receives wire and elec.;tr onic communicaLions. Indi viduals u ing coll phones



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contract with cellular   erv1ce pro iders, who m aintain ante nna tower       covenng

, pecific geographic a rea. . In order to tran mit or r ceivo call    and data, a c 11

phone must . end a radio ignal to an antenna towe r that, in t urn , is connected to a

cellular ervi e provider' network.

        15.   In addition to a unique telephone number , each cell phone has one or

more unique identifiers embedded in ide it. Dependin g upon the cellular network

a nd the device, the embedded unique identifier for a cell phone co uld a ke everal

different form , including a n Electronic Serial   umber ('ES   "), a fobiJ e Electronic

Identity _ umber (" fEI '), a    fobile Identificatio n Number ("MI    ), a Subscriber

Identity Module ('SIM '), a n International tfobile Sub criber Iden tifier ("IMSI"), a

Mobile Subscriber Integrate d S rvic    Digital Network Number ( 'MSISDN") , or an

International Mobile Station Equipment Iden tity ("IMEI").        When a cell phone

connects to a cellular antenna or towe r, it reveals its embedded unique identifiers to

the cellular antenna or tower. and the cellular antenna or tower r ecord          those

id ntifi ers a a matter of cour e. The unique ideDtifier -a · tran ·mitted from a cell

phone to a cellular a ntenn a or tower- are like the telephone numb r of a n incoming

call. Th ey can be record d b) pen-trap devices and indicate the id entit of the cell

phone device mak.i.n o- the communication without r evealin g the communication

conten t .

        1G.   ln addition a li.-t of incoming and outuoino- telephone number         1s

ge ncrat d wh en a cell phone is used to m ake or receive calJs, or Lo send or receive

text me. sage. (which may include photographs , video , and other data) . These



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telephone number s can be r ecorde d by pen-trap devices a nd then used to identify

the parties to a communication without revealing the communications content .

        l "'.   A cell phone can also be used to exchange text messages with email

accou nts. 'I'he em ail addresses as ociated with those text me sage can be recorded

by pen-trap device , and then use d t o identify parties to a communication without

revea ling th communication s content .

       18.      Cellulax phones ca n conn ect to t he Internet via the cell ular network.

When connecting t hrough the cllular network , Internet communication . . ent and

received by the cellular phone each contain the sam e unique identifier th at

identifies cellular voice communication , such as an ESN, MEI , MIN, SIM, Il\i[SI,

MSISDN, or IMEL Internet co mmuni ation Crom a c llul ar phone al o contain the

IP address associated with that ce llul ar phon e at the tim e of the comm unication.

Ea ch of these unique identifier can be used to identify parties to a communication

without revealing the communica tion's conte nts.



       19.      The "'C nited State     governmen t, including the         aval   Criminal

Inves tigative Service, is investigating the theft of a high quantity , high value items

from various military in talla tions, to include the Marin e Corp .. Air Station at

Cherry Poi nt      orth Caro lina.    'I'he investi ga ion concern ~ pos ible vio la tion by

known and unknown in dividua ls of, inter alia , Title 18, United States Code, Section

641.




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       20.       The conduct being investigated involves use of t he cell phone number

de ribed in Attachment A in committing the above-liste d offense. 1'o further the

inve tigation, im estigator~ need to obtain the dialing, routjng, addre sing, a nd

signaling info rmation a sociate<l with communications sent to or from that cell

phone number .

      21.        The pen-trap device     ough t by thi   application will record, decode

a nd/or capture dialing, To u ting, addressin g, a nd signaling information associated

with ach communication to or from the cell phon e number clescrjbecl in Attachment

A, incl ucling the cl at , time, a nd duration of th communication , a nd t he following,

without geogra phic limit:

             •   [P addr   ses a sociated with the cell phone device or devices u eel to

                 . end or receiv e lectronic communication

             •   Any unique identifier associated w i h t h cell phone device or cl vices

                 use d to make and receive calls with cell phone number describ d in

                  ttachment A, or to end or receiv othe:r electronic comm unications,

                 including the ES , 1IEI , I 181, IMEI, SIM, 1SISD        or MIN

             •   IP addre ses of a ny website · or oth er servers to which t.hc cell phone

                 device or devices connected

             •    ource and de tination telephone number s a nd email addre . es



      22.        For the r ea on ' st ate d above, the United States reque ts that the

Court enter an Order authorizing th e in tallatio n and u e of pen-trap device          to



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record, decode, and/or captur         t he dialin g, routing, add.re sing, and ca:ignalin g

information describ d a bove for each communication to or from the cell phone

number described in Attachment A, to i nclude t he date, ime , and duration of th e

comm unication , wit hout geographic limit. The Unite d States does not reque t a nd

doe s not seek to obtain the con te n ts of any comm unication , a defin ed in 18 U .S. .

§ 2510(8).

        23 .     The United State     fur ther request   t hat t he Court authorize the

foregoing in tallation and use for a period of ixty days from t he date of tho Court'

Order, pursu a nt to 18 U.S.C. § 3123(c)( l).

         24.     The United States fur ther req uests, pursuant to 18 U.S .C. §§

3123(b)(2) and 3124(a)-(b), that t he Court order . T & T and a ny other person or

entity providing wiJ:e or electronic communication          ervice in the     nited State

who e a istance ma. facilitate execution of hi Order             furni. h upon service of

th Order, information, faci litie , a nd tech nical assistance necessary to in -tall the

pen-trap devices, including installation and oper ation of the pen-trap devic s

unobtrusively a nd wit h minimum disruption of normal service. An y entity providing

s uch   a, sistance shall be r ea onably compensa ted by t he               aval Criminal

Investigative      ervice pur u a nt to 18 U.S.C. § 3124(c), fo r reasonable expen e

incurred in providin g facili ie and as ·i tance in furtherance of thi Order.

        25.      The United S tates further requ e. ts th at the Co urL order AT & T a nd

any other person or ntity whose assista nce may facilitate execution of this Order to

notify th      applicant a nd t he Naval Criminal Inve tigative Service of any ch a ng s



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relating to the cell phone number described in Attachm ent (\, and to provide prior

notice to th e applicant and t he Naval Criminal Investigative Service before

te rminating or changing ervi e to the cell phone number.

       26.      The United State     further reque t · that the Court ord r that the

Naval Criminal Investigative Service and the applicant have access to the

information collected by the pen-trap devices a. soon as practicable, twenty-four

hours per da y, or at such other times as may be acceptable to them , for the duration

of the Order.

       27.      The   nited States furt her r eque t . pur~u ant o 18 l .S.C. § 3123(d)(2)

that: the Court order AT & T and any other per on or entity who                 as i tance

facilitates execution of thi Order , and their agents and empl oyees, not to disclo e in

any manner directly or indirec ly, by an action or inaction , the exi t ence of thi

application and Order, the resulting pen- trap devices, or this investigation, for a

period of one year from the date of this Order, except that AT & T may disclo e thi

Order to an attorney for AT & T for the purpose of receiving legal advice.

      2 .       The United States further request.. that th e Clerk of the Court provide

tho United States . ttornoy's Office with filed copies of thi application a nd Order,

for distribution as nece ·ary to ffectuate the Ord er.

      29 .      The forngoi.110- i ba ed on information provided to me in my official

capacity by age nts of he Naval Criminal Investigative Servi o.




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 I declare under penalty of perjury t h at t he foregoin g i · true and correct.

 Executed on ~    b ~ April, 2020.



                                    ROBERT J. HIGDON, JR.
                                    United States Attorney



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                                 TTACHMENT

The information related to the ce llular telephone at issue is stored at premise.
controlled by T & T headquartered at 11760 U .. Highway 1, orth Palm B ach.
Florida 33408 .

            Cellular Telephone a signed call number: (760) 05-5387




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